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   hearing if co-counsel are unavailable. The State also has provided Plaintiffs’
   mainland counsel an exemption to travel to Hawai‘i and to appear personally, as a
   court activity permitted under the existing emergency order. Needless to say, I will
   abide fully by any of the Court’s requirements concerning entry to the courthouse
   and physical distancing during the hearing.

         Thank you for your consideration.

                                                Respectfully,




                                                Clare E. Connors
                                                Attorney General
                                                State of Hawai‘i

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